 Fill in this information to identify the case:

 Debtor 1               Roger L. Tosten
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            MIDDLE                           PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        1:20-bk-00081-HWV
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   State Farm Bank, F.S.B.                                                                                  6-2
 Name of creditor: _______________________________________                               Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          3297 ____ ____ ____
                                                         ____                            Must be at least 21 days after date       01    01   2021
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          623.83
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
      
      X
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________
                                                         *
                                                  402.38
                Current escrow payment: $ _______________                           New escrow payment:         432.09
                                                                                                             $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      
      X    No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      
      X    No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                         New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1

        Case 1:20-bk-00081-HWV                        Doc Filed 12/03/20 Entered 12/03/20 08:01:20                                     Desc
                                                      Main Document   Page 1 of 5
   Debtor 1         Roger L. Tosten
                    _______________________________________________________                                                1:20-bk-00081-HWV
                                                                                                   Case number (if known) _____________________________________
                    First Name      Middle Name               Last Name




     Part 4:        Sign Here


     The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
     telephone number.
     Check the appropriate box.

             I am the creditor.

         X
              I am the creditor’s authorized agent.



     I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
     knowledge, information, and reasonable belief.



     _____________________________________________________________
         /s/ Lauren M. Moyer
        Signature
                                                                                                   Date
                                                                                                            12 03     2020
                                                                                                           ____/_____/________




     Print:             Lauren M. Moyer
                       _________________________________________________________                   Title       Attorney for creditor
                                                                                                           ___________________________
                       First Name                      Middle Name          Last Name



     Company            McCabe, Weisberg & Conway, LLC
                       _________________________________________________________



     Address            123 S. Broad Street, Suite 1400
                       _________________________________________________________
                       Number                 Street

                        Philadelphia, PA 19109
                       ___________________________________________________
                       City                                                 State       ZIP Code



     Contact phone       215
                       (______)  790
                                _____–   1010
                                       _________                                                          ecfmail@mwc-law.com
                                                                                                   Email ________________________




* The “current escrow” referenced on the attached exhibit corresponds to the last payment which was made contractually. The “current escrow” referenced on the
instant Notice of Mortgage Payment Change corresponds to the escrow amount required at the time of the most recent payment change.




   Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2

          Case 1:20-bk-00081-HWV                                Doc Filed 12/03/20 Entered 12/03/20 08:01:20                                    Desc
                                                                Main Document   Page 2 of 5
                         UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
In re: Roger L. Tosten                       Chapter 13
                     Debtor(s)
State Farm Bank, F.S.B., or its Successor or Bankruptcy No. 1:20-bk-00081-HWV
Assignee
                     Movant

              vs.

Roger L. Tosten
Charles J DeHart, III (Trustee)
                       Respondent(s)


 CERTIFICATION OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

       I, Lauren M. Moyer, attorney for State Farm Bank, F.S.B.
                                                            , hereby certify that I served a true
and correct copy of the foregoing Notice of Mortgage Payment Change, by United States Mail,
first class, postage prepaid, and/or electronic means, upon the following:
Date Served: December 03, 2020


Roger L. Tosten                  Gary J Imblum                     Charles J DeHart, III (Trustee)
8023 Molly Pitcher Highway       Imblum Law Offices, P.C.          8125 Adams Drive, Suite A
Greencastle, Pennsylvania        4615 Derry Street                 Hummelstown, Pennsylvania
17225                            Harrisburg, Pennsylvania          17036
                                 17111                             Trustee
                                 Attorney for Debtor

                                 United States Trustee
                                 228 Walnut Street, Suite 1190
                                 Harrisburg, Pennsylvania
                                 17101


                                       /s/ Lauren M. Moyer
                                       MARGARET GAIRO, ESQUIRE ID # 34419
                                       ANN E. SWARTZ, ESQUIRE ID #201926
                                       LAUREN M. MOYER, ESQUIRE ID # 320589
                                       JAMES FRENCH, ESQUIRE ID # 319597
                                       JOHN M. KOLESNIK, ESQUIRE ID # 308877
                                       Attorney for State Farm Bank, F.S.B.
                                       123 South Broad Street, Suite 1400
                                       Philadelphia, PA 19109
                                       Telephone: (215) 790-1010
                                       Facsimile: (215) 790-1274
                                       Email: ecfmail@mwc-law.com



Case 1:20-bk-00081-HWV          Doc Filed 12/03/20 Entered 12/03/20 08:01:20                Desc
                                Main Document   Page 3 of 5
                                              1234566787
                                              9 8



           
           
           !"#$%& '#                                                              (--
          & $() *+, !                                                            .
                                                                                            12324536789:7
                                                                                            &;12:74646<=94(+//+ )+0!0
                                                                                                                       $3s4(:5(

            FGHIJHJHHKLHHMNGOJHPQMJHRKSTMPHRJKIMPQMUVOWREJNROXCNNOWMKYQJNGOJWRH>KIKHZHMKS[BLQJLIMP\UWQPHQJQMKHMPHPKO
            LHG]\OWWMPHRJKIMP\OWRJKIKHZHMKIMPIMJXHRJOZHNOZZOMG\IJ^HP_WHJKQOMJI`OWK\OWRHJNROXIMIG\JQJ[
                             CaaTCbE>cA@d Ccc@TaBYe>cb@>TAE >BCBEfEaB
    1g:;hi:jkj436464l;=64m2:73=i23=i3i4196:j399:;i2jn=9n=1;14m2:o3gg:;6643p412324230413im-:6=i1;63i94o647=;718n=1399:;i27;12q4
    3i3pgr4m3ii;3ppg2:m42467=i4jn42n464i:;sn5;im1364q4=is9:pp4924m7:i2npgk3imjn42n462n4399:;i2n3131n:623s4:61;6op;1q314m:i2n4
    3i2=9=o324m392=<=2g8
                                               FAE>EaB b@Ca FCVfEaB
    #:;6o6414i2o3g74i2k!-(-(,9:i1=121:5.$6=i9=o3pt%i246412u$t%v                             w(,(8)0
                                          196:jx4o:1=2                                       w!,!8)
    BOKIGbOIMFI\ZHMK                                                                          yz{z[||
                                  CaBeceFCBEY CaaTCb Ye>}TA>EfEaB>
    n4143642n44196:j=2471j43i2=9=o324j4j=pp9:pp4925:6:6o3g:ig:;6q4n3p5=i2n4;o9:7=is( 7:i2no46=:m8n4m:pp3637:;i21n:ji73gq42n4
    p31237:;i2392;3ppgo3=m5:62n32=247k:673go6:~4922n4i40237:;i2m;431m45=i4mqg4m463pp3j8314m:i2n4143i2=9=o324mm=1q;61474i21k2n4
    37:;i2:5g:;64196:jm4o:1=2=193p9;p324m3imm=1op3g4mn4648
    =pp1m;4=i2n4;o9:7=isg436.                  &=2g30                       w(*8)
                                                3041                       w!k08/*
                                                3r36m%i1                   w(k(/(8
    CMMWIGYQJ`WRJHZHMKJ                                                    y|{[z @MHBXHGKLfOMKLG\ CZOWMK y|z[
                                                     Ccc@TaB ?e>B@AV
    n45:pp:j=is1232474i2:5392=<=2g=ig:;64196:j399:;i256:7 -2n6:;sn( -m=1op3g1392;3p392=<=2g31=2:99;664m=ig:;64196:j399:;i2m;6=is
    2n32o46=:m8#:;67:i2npg7:62s3s4o3g74i2j31w**8003imw!,!8)j4i2=i2:g:;64196:j399:;i28%5g:;6494=<4m99:;i2$6:~492=:i1j=2n3o6=:6
    3i3pg1=1k2n4g364=i9p;m4m3s3=in4645:69:7o36=1:i8
                                FI\ZHMKJ                      YQJ`WRJHZHMKJ                           FROHNKHPEJNROX CNKWIGEJNROX
    fOMKL            FROHNKHP            CNKWIG       FROHNKHP          CNKWIG YHJNRQ]KQOM           CNNOWMK}IGIMNH CNNOWMK}IGIMNH
                                                                                  }HUQMMQMU}IGIMNH            y[      y zz[
                   0 8!                                                                                 k0(08,         +!k*)*8,!
    "               0 8!                                                                                 k(/8/)        +!k*)*8,!
     $              0 8!                           8,,          (*8) 88                       k0(8/        +0k!,(8/!
    "#                0 8!                                                                                k( 800        +0k!,(8/!
                   0 8!                                                                                !k(08          +0k!,(8/!
                    0 8!                                                                               !k/()8         +0k!,(8/!
                   0 8!                                         (k(/(8 x%                    0k(,8*        +*k** 8/!
     $              0 8!            0(8!,        k, 8*        !k08/* &                    (k*(,8!        +k(**8,
     &              0 8!          k)*/8      (k(()8                x%                      08)/           /8,,
                    0 8!           0 8!                                                             (k)8(0          (k!8!)
     x&              0 8!            0 8!                                                            (k/,8*          (k0*8)*

0                                              c@aBeaTEY @aAEEA>E>eYE
             Case 1:20-bk-00081-HWV              Doc Filed 12/03/20 Entered 12/03/20 08:01:20                           Desc
                                                        >?@ABCDE
                                                 Main Document   Page 4 of 5
                                                     00123453674523 00
 89                                                                                                     
9!"# $ %%$%"!&"'$ $()**!"#"* +,"$!"--#$
& !"*,)"*#,., "%*&!#! +/0& !"*,)%"*&"!"*1&!#! ",&"*9$$"#
2")%"*!%&&,$,3*,454!"# $**&)!" #!*")"$$# #! "
"$$#*".
6).$& *7#!."#, ! %"!)"#5$".9$$"# #-*&" 8#,-9 :;< = ,6.)"#
,".!"*,),$*"#, "*(>$  9 ;?" @?*"%",$& &)!%"!*$$"##,)"#,"$"$"A,.
&$%,".!"#
< )"#,"$"$ A,.)"#,".!"*,),$*"#, "*(>$  9 ;?
                                            7112634 BC2DE14523F
3*%",,".-!"%$())"#$".$$"#%"! @ *"#-* @ &"( %")"#%"!"9,,&)!.$&$(-
.,, #!.$&!-")"#*,%$,#  ,"-.**+"'$ 5$".9$$"#G,$ ( )$)-%".
)"#$#$#,$".,$3*H8# 5$".9$$"#G,$ &,)*!"#$#,,)8# ""* &$% )= ,
,.A,. )"#," "$#! !)$,# $#*""%#&" @?*"%)"#9#,7#!+,*!%"
$"!&".**$#,$())"#$$"#* "%*>$".$$"#$"!&#")
                                    7IJKLKMNJOP7QRSIJ                                  BTRUOLJOPEVLTRW COXSKTOPEVLTRW
    YRIJZ                    4R[EVLTRW          \TRQ[EVLTRW       ]OVLTKMJKRI          7LLRSIJ[^N_NILO 7LLRSIJ[^N_NILO
                                                                  ^O`KIIKI`^N_NILO             abcdefghf          abciiegjk
     89                           :                                                             ;              ;::
     =5G                          :                                                            :               ?
    /9H                           :                                                            ?:                 :;:
     9+H                          :                 :;        H539l                        : :              : :;
    /9m                           :                                                            ??:?:              
     8<                           :                                                            ;;            :
     8<6                          :                                                           :           ;: :
    9<n                           :                                                                          ?:?:
     A5+                          :                ?:       Ao2pp639l                                     :;?
    po3                           :                ?          29q9H70A                        :;:?                
      pr                          :                                                              ;              :?
    75o                           :                                                             :             ?? 
sRSTBTRUOLJOPEVLTRW7LLRSIJ^N_NILONVRtbuvjbvueKVabcdefghfgsRSTCOXSKTOP^O`KIIKI`EVLTRW^N_NILONLLRTPKI`JRJZKVNIN_wVKVVZRS_P
xOabciiegjkg
3*!)"#*(A*"-"%9 ?:+= ,,.**"-!)$",,$ %"!)"#"( !"*"!"#,,*
!"*1 &"0%".!)8#&)!.* )y.,,$",,$**"-"( !"*
p$ #-*&" )"#H8# 5$".9$$"#G,$*"#,  #$ "9 *".p$"3*!"#&*$#*"
,$ )#,,". ))"#,"$"$= , A,.
                                               3Ez {273 B7sYE34
m"#.&)!$""%|                  +$&,}0+}0                        9  ;
                                           5$".7&"                                  9 :
                                           5$".A*"-9!"#                            9 ?;
3OW{RNIBNwQOIJ                             ^O`KIIKI`RIDNISNTwbcueub                       aiujg~j
5QMRTJNIJ3RJOV
7SJRQNJKL]TNtJ1SVJRQOTV0%)"#1",, 9#"!$7%-) ",&$&,  #$")"#*(&("#,)#*" "$,# 
*"(, .&)!!"#2".(#,."*. ( *#*"  ",&$&,!"#.,,$"#".* .
%"!)"#$$"#
7PUSVJNx_OCNJOYRTJ`N`O1SVJRQOTV0%)"#,"* '#,)"#!"*,)&$&, &)!!)$*-&"")"#
>5$".9,)
3p3255l35 3mp<HpG60n930p 29AG55 70Ao29Hn57 pH0AA<G85o33p3259<3p/930oA39m0 9G9 H<+3om+Hpo5570n
320A6p9 A3935/5 30A=pH0=pH/930p 96+<H+pA5Ap 6m9 77p5A p3op A303<35975/9 7=pH+9m/5 3pH9
9335/+33pop665o3075G357 5AA9Amp<H+5HAp 96pG60n930p 
A*"#, )"#*()8#""#*5$".9,)&,$,,"#o#"!A($7&! ?? ;




         Case 1:20-bk-00081-HWV              Doc Filed 12/03/20 Entered 12/03/20 08:01:20                          Desc
                                             Main Document   Page 5 of 5
